          Case 1:13-cr-20834-TLL-PTM ECF No. 27, PageID.92 Filed 02/28/19 Page 1 of 4
AO 245D (Rev. 0S/17) Judgment in a Criminal Cas€ for Revocations
                      Sheet I




                                     UNrrpo Srarps Drsrrucr CouRr
                                                        Eastern District of Michigan

         UMTED STATES OF AMERICA                                             Judgment in a Criminal Case
                                                                             (For RevocotioD of Supervised Release)

            TIMOTHY HEATH FINDLAY
                                                                             Case No. 0645 1:13-CR-20834-01

                                                                             USM No. 49501-039
                                                                              Russell J. Perry, Jr.
                                                                                                        D€fendant's Attomey
THE DEFENDANT:
d admitted guilt to violation of condition(s) I &2                                             ofthe term of supervision.
O was found in violation ofcondition(s) count(s)                                          after denial ofguilt.
The defendant is adjudicated guilty ofthese violations


Violation Number              Nature of Violation                                                                                      Violation Ended
 1                      The defendant shall notify the probation officer at least ten days prior to any change in residence or              7t19t2017
                        employment.




 2                      The defendant shall ref,ort to the probation officer and shall submit a truthtul and complete written report        6t30t2017
                        within the frst frve days of each month.




       The defendant is sentenced as provided in pages 2 through                 4        ofthis judgrnent. The sentence is imposed pursuant to
the Sentencing Reform Act of 19E4.

tr The defendant has not violated condition(s)                                  and is discharged as to such violation(s) condition.


 .       It is ordered that the defendant must notiry lhe United States anomev for rhis district within 30 davs ofanv
gknge gl ngne..residence. or maiting address qntfl atl trnes, restituiion, ao:li(, ndbAi;t             isilililrs
                                                                                                          ir#o:s;;     this iudement are
rully palo. ll ordered to pay restltutton. the delandant must notiry $e coun and Unit-ed States anomey of material-chan[es
                                                                                                                   "\i         in
economlc crcumstances.

Last Four Digits of Defendant's So". Sec. No., 7230                          2t28t2019
                                                                                                        0f lm       on ofJudgment
Defendanfs Year    ofBhth:          1973
                                                                                                 Ludington

City and State of Defendant's Residence:                                                                            rrfJudge
Prescott, Ml
                                                                             Thomas L. Ludington, U.S. District Judqe
                                                                                                      Name and Title ofJudge

                                                                            228t2019
                                                                                                                 Datc
            Case 1:13-cr-20834-TLL-PTM ECF No. 27, PageID.93 Filed 02/28/19 Page 2 of 4
AO 245D (Rev. O9/l?) ludgment in a Criminal Case for Revocations
                       Sheet   2 lmprisonment
                                                                                                 Judgment       Page           of
                                                                                                            -
DEFENDANT: TIMOTHY HEATH FINDLAY
CASE NUMBER: 0645 1 :13-CR-20834-01


                                                             IMPRISONMENT

           The defendant is hereby commified to the custody of the Federal Bureau of Prisons to be imprisoned
                                                                                                                       for a total
term of:

4 months




      tr The court makes the following recommendations to the Bureau of Prisons:



      d The defendant is remanded to the custody ofthe United States Marshal.
      tr The defendant shall surrender to the United States Marshal for this district:
           trat                                  E a.m. tr p.-. on
           tr   as notifled by the United States Marshal.


      tr The defendant shall surrender for service of sent€nce at the institution designated by the Bureau of Prisons
         tr before 2 p.m. on
         D as notified by the United States Marshal.
         tr as notified by the Probation or Pretrial Services Office.
                                                                   RETURN

 I have executed this judgment as follows:




           Defendant delivered on                                                      to

 at                                                 with a certified copy of this judgment.




                                                                                               LNITED STATES MARSHAL


                                                                         By
                                                                                            DEPUTY T]NITED STATES MARSHAL
          Case 1:13-cr-20834-TLL-PTM ECF No. 27, PageID.94 Filed 02/28/19 Page 3 of 4
AO 245D (Rev. 09/17) Judgrnent in a Criminal Case for Revocations
                        Sheet 3
                                  - Supervised Release
                                                                                                  J   udgment-Page 3      of
DEFENDANT: TIMOTHY HEATH FINDLAY
CASE NUMBER: 0645 1:13-CR-20834-01
                                                          SUPERVISED RELEASE

Upon release &om imprisonment, you will be on supervised release for a term of:

 The defendant's cunent term of supervised release is revoked and no re-imposition of supervised release is ordered
 following his incarceration.




                                                         MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within l5 days ofrelease
      fiom imprisonment and at least two periodic drug tess thereafter, as determined by the court.
                tr The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                     substance abuse. (check { applicable)
4. E You must make restitution in accordance with l8 U.S.C. $$ 3663 and 36634 or any o ]er statute authorizing a sentence of
           restitution. /cluct il opplicable)
5. E You must cooperate in the collection ofDNA as directed by the probatlor. officer. (check dapplicable)
6. D You must comply with the requirements ofthe Sex Offender Registration and Notification Act (34 U.S.C. $ 20901, et seq.)
           as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
           where you reside, work, are a student, or were convicted of a qualiling offense . (che* dapplicable)
7. tr You must participate in an approved program for domestic violence. (ctuck ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as witb any other conditions on the
attached page. ' "
           Case 1:13-cr-20834-TLL-PTM ECF No. 27, PageID.95 Filed 02/28/19 Page 4 of 4

 AO 245D (Rev.09/17)   Judgmsnt in a Ctiminal Case for Revocations
                       Sheet 5A    C.iminal Monetary Penalties
                                -                                                      Judgment-Page   of
 DEFENDANT: TIMOTHY HEATH FINDLAY
  CASE NLII\4BER: 0645 1 :1 3-CR-20834-01

                          ADDITIONAL TtrRMS FOR CRIMINAL MONETARY PENALTIES
The Court waives the costs of incarceration due to the defendant's inability to pay'
